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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                     )
BLAKE LEITCH, SHERI LASH, BETH                       )
POLLO, HEIDI PARENT, JIM SODARO,                     )
TONI HEAD, CONNIE AMETER,                            )      No. 1:19-cv-02921
TAIRANCE McGEE, and JACK DEHEVE                      )
                                                     )
               Plaintiffs,                           )
                                                     )      Honorable Judge Jorge L. Alonso
v.                                                   )
                                                     )
AMERICAN FEDERATION OF STATE,                        )
COUNTY AND MUNICIPAL                                 )
EMPLOYEES, COUNCIL 31, AFL-CIO,                      )
                                                     )
               Defendant.                            )


                             JOINT MOTION TO STAY THE CASE

       Plaintiffs Blake Leitch, Sheri Lash, Beth Pollo, Heidi Parent, Jim Sodaro, Toni Head,

Connie Ameter, Tairance McGee, and Jack Deheve, and Defendant American Federation of

State, County and Municipal Employees, Council 31, AFL-CIO (“Council 31”) jointly and

respectfully move this Court to stay all proceedings in this matter pending decisions by the

United States Court of Appeals for the Seventh Circuit in Janus v. American Federation of State,

County and Municipal Employees, Council 31, et al., No. 19-1553 and Mooney v. Illinois

Education Association et al., No. 19-1774.

       1.      On May 1, 2019, Plaintiffs filed this action seeking the return of agency fees paid

on behalf of themselves and as representatives of a class of employees who were compelled to

pay agency fees to Council 31 as non-members before the Supreme Court decision in Janus v.

AFSCME Council 31, 138 S. Ct. 2448 (2018).



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       2.      On June 6, 2019, Defendant filed a motion to dismiss arguing that Plaintiffs’

claim is barred by the good-faith defense available to private parties sued under 42 U.S.C.

§ 1983. See ECF No. 15. In support, among other things, Defendant cites the opinion by the

district court in Janus after the case was remanded by the Supreme Court.

       3.      In Janus, the Supreme Court found that the practice of compelling agency fees

from non-members of a union without affirmative consent was unconstitutional. On remand to

the district court (Hon. Robert W. Gettleman), Janus moved for summary judgment to recoup

from Council 31 the agency fees remitted on his behalf to Council 31 before the Supreme

Court’s Janus decision. Council 31 filed a cross-motion for summary judgment on Janus’

damages claim.

       4.      On March 18, 2019, Judge Gettleman issued a Memorandum Opinion and Order

granting Council 31’s motion for summary judgment and denying Janus’ motion for summary

judgment. While recognizing that the Seventh Circuit has not yet addressed whether there is a

good-faith defense available to private parties sued under 42 U.S.C. § 1983, Judge Gettleman

concluded that there is such a good-faith defense and that it applied to bar Janus’ claim for the

repayment of pre-Janus agency fees, because those fees were remitted to Council 31 in accord

with an Illinois statute that, at the time, was constitutional under Supreme Court precedent.

       5.      On March 27, 2019, Janus appealed Judge Gettleman’s decision to the Seventh

Circuit. Both appellant and appellee briefs have been filed before the Seventh Circuit, and the

reply brief is due July 3, 2019. In addition, the Mooney case—which also raises the issue of

whether the good-faith defense bars the repayment of pre-Janus agency fees as a matter of law—

is also before the Seventh Circuit. In Mooney, the appellant’s brief has been filed, and the




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appellees’ brief is due to be filed on June 27, 2019. The Seventh Circuit has issued an order that

the appeals in Janus and Mooney will be argued on the same day before the same panel.

        6.      Defendant’s motion to dismiss in this case is premised on the argument that the

good-faith defense bars plaintiffs’ claims for the repayment of pre-Janus agency fees. This is the

same issue that is before the Seventh Circuit in the Janus and Mooney appeals.

        7.      Counsel for Plaintiffs in this case are also counsel for the plaintiff in Janus.

Council 31 is a defendant in this case and in Janus, and is represented by the same counsel in

both cases. Lead counsel for Defendant in this case is also counsel for the defendant unions in

Mooney.

        8.      The parties recognize that decisions by the Seventh Circuit in Janus and Mooney

will at least have a significant impact on the legal arguments made in this case, if not be

dispositive of plaintiffs’ claims.

        9.      Thus, the parties jointly move that this Court stay this case pending decisions by

the Seventh Circuit in the Janus and Mooney cases.

        10.     Counsel for the parties propose this stay in order to save judicial resources and to

avoid having to duplicate their efforts in this case and in the appeals currently pending before the

Seventh Circuit.

        11.     The parties propose that the Court stay this case and set a status hearing for

approximately one year, with leave for the parties to request a status hearing sooner should the

Seventh Circuit issue decisions in Janus and Mooney before then. The parties further propose

that discovery and the status hearing currently scheduled for June 25, 2019 be indefinitely

continued in line with this stay.




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        12.     In addition, if the Court grants this joint motion to stay, Defendant agrees to

withdraw its motion to dismiss, so long as that withdrawal is without prejudice to Defendant re-

filing a motion to dismiss after the stay is lifted.

        WHEREFORE, Plaintiffs and Defendant respectfully request that the Court stay all

further proceedings in this case until after the United States Court of Appeals for the Seventh

Circuit has issued its decisions in Janus v. AFSCME Council 31, No. 19-1553, and Mooney v.

Illinois Education Association, No. 19-1774.


Dated: June 19, 2019


Respectfully Submitted,                                    Respectfully submitted,

By:     /s/ Jeffrey Schwab                                 /s/ Jacob Karabell

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